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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


GHAZALA SIDDIQUI, ET AL.,
                                                 Case No. 17-13351
             Plaintiffs,
                                                 SENIOR U.S. DISTRICT JUDGE
v.                                               ARTHUR J. TARNOW

UNITED STATES OF AMERICA,                        U.S. MAGISTRATE JUDGE
                                                 DAVID R. GRAND
             Defendant.
                                       /

                           ORDER SETTING DEADLINES

      Plaintiffs Ghazala and Masood Siddiqui filed their Complaint [Dkt. 1] on

October 13, 2017. The United States filed a Motion to Dismiss for Lack of Subject

Matter Jurisdiction [8] on December 15, 2017. A hearing on the motion took place

on April 26, 2018.

      As discussed at the hearing, the Court gives Plaintiffs leave to file an

amended complaint. The United States may respond to the amended complaint

within 21 days of its filing. The Court strongly encourages the parties to continue

to communicate and work together to resolve this case.

      Accordingly,

      IT IS ORDERED that, if Plaintiffs seek to file an amended complaint, they

will do so on or before Tuesday, May 29, 2018.



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      IT IS FURTHER ORDERED that, if the United States wishes to respond

to the amended complaint, it will do so within 21 days of its filing.

      SO ORDERED.



                                       s/Arthur J. Tarnow
                                       Arthur J. Tarnow
Dated: April 27, 2018                  Senior United States District Judge




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